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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALEXANDRA           GO~ZALES,                        CIVIL ACTION NO: 17-3692
                       Plaintiff,                                                           FILED
               v.                                                                          JUN 2 7 2018
                                                                                       B KATE BARl<MAN, Clerk
NATURE'S WAY MEDICINE, P.C.                                                             Y--Dep. Clerk
and MATTHEW ROMAN, individually, :
              Defendant.                             Honorable Nitza I. Quinones Alejandro


                             STIPULATION TO EXTEND TIME

               It is hereby STIPULATED AND AGREED, by and between counsel for the

        Plaintiff, Samuel C. Wilson, Esquire and counsel for the Defendants, Neelima Vanguri,

        Esquire the parties respectfully request that Your Honor Order a Dismissal without

        prejudice in the above captioned action so that the Plaintiff may refile her Complaint in

        state court to pursue only her claims under the Philadelphia Fair Practice Ordinance.

        Sidney L. Gold & Assoc., P.C.                      Derek Smith Law Group, PLLC

By:     Isl Neelima Vanguri                       By:     Isl Samuel C. Wilson
        NEELIMA VANGURI, ESQ.                             SAMUEL C. WILSON, ESQ.
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Dated: June 27, 2018




Date:
